            Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 1 of 23




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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  -------------------------------------------------------X
  JOSE LUIS HERNANDEZ LEONARDO
  (A/K/A KEVIN) and YONIC HERNANDEZ,
  individually and on behalf of others similarly
  situated,                                                          COMPLAINT

                                     Plaintiffs,
                                                             COLLECTIVE ACTION UNDER
                   -against-                                      29 U.S.C. § 216(b)

  REZA FAST FOOD, INC. (D/B/A CROWN                                    ECF Case
  FRIED CHICKEN) and ADEL EJTEMAI,

                                      Defendants.
  -------------------------------------------------------X

         Plaintiffs Jose Luis Hernandez Leonardo (a/k/a Kevin) and Yonic Hernandez, individually

 and on behalf of others similarly situated (collectively, “Plaintiffs”), by and through their

 attorneys, Michael Faillace & Associates, P.C., upon their knowledge and belief, and as against

 Reza Fast Food, Inc. (d/b/a Crown Fried Chicken) (“Defendant Corporation”) and Adel Ejtemai

 (“Individual Defendant”), (collectively, “Defendants”), allege as follows:

                                           NATURE OF ACTION

       1.       Plaintiffs are former employees of Defendants Reza Fast Food, Inc. (d/b/a Crown

Fried Chicken) and Adel Ejtemai.

       2.       Defendants own, operate, or control a fried chicken restaurant, located at 3351

Broadway, New York, NY 10031 under the name “Crown Fried Chicken”.
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 2 of 23




       3.      Upon information and belief, individual Defendant Adel Ejtemai, serve or served as

owner, manager, principal, or agent of Defendant Corporation and, through this corporate entity,

operates or operated the restaurant as a joint or unified enterprise.

       4.      Plaintiffs were employed as food preparers, cooks, cashiers, and cleaners at the

restaurant located at 3351 Broadway, New York, NY 10031.

       5.      At all times relevant to this Complaint, Plaintiffs worked for Defendants in excess of

40 hours per week, without appropriate minimum wage, overtime, and spread of hours compensation

for the hours that they worked.

       6.      Rather, Defendants failed to pay Plaintiffs appropriately for any hours worked, either

at the straight rate of pay or for any additional overtime premium.

       7.      Further, Defendants failed to pay Plaintiffs the required “spread of hours” pay for any

day in which they had to work over 10 hours a day.

       8.      Furthermore, Defendants repeatedly failed to pay Plaintiffs’ wages on a timely basis.

       9.      Defendants’ conduct extended beyond Plaintiffs to all other similarly situated

employees.

       10.     At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiffs and other employees to work in excess of forty (40) hours per week without

providing the minimum wage and overtime compensation required by federal and state law and

regulations.

       11.     Plaintiffs now bring this action on behalf of themselves, and other similarly situated

individuals, for unpaid minimum and overtime wages pursuant to the Fair Labor Standards Act of

1938, 29 U.S.C. § 201 et seq. (“FLSA”), and for violations of the N.Y. Labor Law §§ 190 et seq.

and 650 et seq. (the “NYLL”), and the “spread of hours” and overtime wage orders of the New York



                                                   -2-
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 3 of 23




Commissioner of Labor codified at N.Y. COMP. CODES R. & REGS. tit. 12, § 146-1.6 (herein the

“Spread of Hours Wage Order”), including applicable liquidated damages, interest, attorneys’ fees

and costs.

       12.     Plaintiffs seek certification of this action as a collective action on behalf of

themselves, individually, and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).

                                  JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

and the FLSA, and supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. §

1367(a).

       14.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and Defendants

operate a fried chicken restaurant located in this district. Further, Plaintiffs were employed by

Defendants in this district.

                                                PARTIES

                                                 Plaintiffs

       15.     Plaintiff Jose Luis Hernandez Leonardo (a/k/a Kevin) (“Plaintiff Jose Luis” or “Mr.

Jose Luis”) is an adult individual residing in New York County, New York.

       16.     Plaintiff Jose Luis was employed by Defendants at Crown Fried Chicken from

approximately September 2017 until on or about August 8, 2020.

       17.     Plaintiff Yonic Hernandez (“Plaintiff Yonic” or “Mr. Yonic”) is an adult individual

residing in New York County, New York.



                                                 -3-
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 4 of 23




       18.     Plaintiff Yonic was employed by Defendants at Crown Fried Chicken from

approximately May 2015 until on or about July 22, 2020.

                                              Defendants

       19.     At all relevant times, Defendants owned, operated, or controlled a fried chicken

restaurant, located at 3351 Broadway, New York, NY 10031 under the name “Crown Fried

Chicken”.

       20.     Upon information and belief, Reza Fast Food, Inc. (d/b/a Crown Fried Chicken) is a

domestic corporation organized and existing under the laws of the State of New York. Upon

information and belief, it maintains its principal place of business at 3351 Broadway, New York,

NY 10031.

       21.     Defendant Adel Ejtemai is an individual engaging (or who was engaged) in business

in this judicial district during the relevant time period. Defendant Adel Ejtemai is sued individually

in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant Adel Ejtemai

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation. He determines the wages

and compensation of the employees of Defendants, including Plaintiffs, establishes the schedules of

the employees, maintains employee records, and has the authority to hire and fire employees.

                                    FACTUAL ALLEGATIONS

                               Defendants Constitute Joint Employers

       22.     Defendants operate a fried chicken restaurant located in the Washington Heights

neighborhood of Manhattan in New York City.




                                                  -4-
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 5 of 23




       23.     Individual Defendant, Adel Ejtemai, possesses operational control over Defendant

Corporation, possesses ownership interests in Defendant Corporation, and controls significant

functions of Defendant Corporation.

       24.     Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.

       25.     Each Defendant possessed substantial control over Plaintiffs’ (and other similarly

situated employees’) working conditions, and over the policies and practices with respect to the

employment and compensation of Plaintiffs, and all similarly situated individuals, referred to herein.

       26.     Defendants jointly employed Plaintiffs (and all similarly situated employees) and are

Plaintiffs’ (and all similarly situated employees’) employers within the meaning of 29 U.S.C. 201 et

seq. and the NYLL.

       27.     In the alternative, Defendants constitute a single employer of Plaintiffs and/or

similarly situated individuals.

       28.     Upon information and belief, Individual Defendant Adel Ejtemai operates Defendant

Corporation as either an alter ego of himself and/or fails to operate Defendant Corporation as an

entity legally separate and apart from himself, by among other things:

              a) failing to adhere to the corporate formalities necessary to operate Defendant

                 Corporation as a Corporation,

              b) defectively forming or maintaining the corporate entity of Defendant Corporation,

                 by, amongst other things, failing to hold annual meetings or maintaining

                 appropriate corporate records,

              c) transferring assets and debts freely as between all Defendants,




                                                  -5-
                Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 6 of 23




                 d) operating Defendant Corporation for his own benefit as the sole or majority

                    shareholder,

                 e) operating Defendant Corporation for his own benefit and maintaining control over

                    this corporation as a closed Corporation,

                 f) intermingling assets and debts of his own with Defendant Corporation,

                 g) diminishing and/or transferring assets of Defendant Corporation to avoid full

                    liability as necessary to protect his own interests, and

                 h) other actions evincing a failure to adhere to the corporate form.

          29.     At all relevant times, Defendants were Plaintiffs’ employers within the meaning of

the FLSA and New York Labor Law. Defendants had the power to hire and fire Plaintiffs, controlled

the terms and conditions of employment, and determined the rate and method of any compensation

in exchange for Plaintiffs’ services.

          30.     In each year from 2015 to 2020, Defendants, both separately and jointly, had a gross

annual volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level that are

separately stated).

          31.     In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. As an example, numerous items that were used in the

restaurant on a daily basis are goods produced outside of the State of New York.

                                            Individual Plaintiffs

          32.     Plaintiffs are former employees of Defendants who were employed as food preparers,

cooks, and cleaners.

          33.     Plaintiffs seek to represent a class of similarly situated individuals under 29 U.S.C.

216(b).



                                                     -6-
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 7 of 23




                       Plaintiff Jose Luis Hernandez Leonardo (a/k/a Kevin)

       34.     Plaintiff Jose Luis was employed by Defendants from approximately September 2017

until on or about August 8, 2020.

       35.     Defendants employed Plaintiff Jose Luis as a food preparer, cook, and cleaner.

       36.     Plaintiff Jose Luis regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

       37.     Plaintiff Jose Luis’s work duties required neither discretion nor independent

judgment.

       38.     Throughout his employment with Defendants, Plaintiff Jose Luis regularly worked

in excess of 40 hours per week.

       39.     From approximately September 2017 until on or about December 31, 2018, Plaintiff

Jose Luis worked from approximately 9:00 a.m. until on or about 6:00 p.m., 3 days a week and from

approximately 9:00 a.m. until on or about 7:00 to 8:00 p.m., 3 days a week (typically 57 to 60 hours

per week).

       40.     From approximately January 1, 2019 until on or about June 30, 2019, Plaintiff Jose

Luis worked from approximately 6:00 p.m. until on or about 3:00 a.m., 3 days a week and from

approximately 6:00 p.m. until on or about 4:00 a.m., 3 days a week (typically 57 hours per week).

       41.     From approximately July 1, 2019 until on or about March 14, 2020, Plaintiff Jose

Luis worked from approximately 9:00 a.m. until on or about 6:00 p.m., 3 days per week and from

approximately 9:00 a.m. until on or about 7:00 to 8:00 p.m., 3 days per week (typically 57 to 60

hours per week).




                                                 -7-
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 8 of 23




       42.      From approximately March 15, 2020 until on or about June 15, 2020, Plaintiff Jose

Luis worked from approximately 10:00 a.m. until on or about 12:00 a.m., 5 days a week (typically

57 hours per week).

       43.      From approximately June 16, 2020 until on or about August 8, 2020, Plaintiff Jose

Luis worked from approximately 9:00 a.m. until on or about 6:00 p.m., 3 days a week and from

approximately 9:00 a.m. until on or about 7:00 to 8:00 p.m., 3 days a week (typically 57 to 60 hours

per week).

       44.      Throughout his employment, Defendants paid Plaintiff Jose Luis his wages in cash.

       45.      From approximately September 2017 until on or about December 2019, Defendants

paid Plaintiff Jose Luis a fixed salary of $505 per week.

       46.      From approximately January 1, 2020 until on or about August 8, 2020, Defendants

paid Plaintiff Jose Luis a fixed salary of $605 per week.

       47.      During his last 2 days at work, Defendants did not pay Plaintiff Jose Luis any wages

for his work.

       48.      Defendants never granted Plaintiff Jose Luis any breaks or meal periods of any kind.

       49.      Defendants took improper and illegal deductions from Plaintiff Jose Luis’s wages;

specifically, Defendants deducted a full hour whenever Plaintiff Jose Luis was late, even if only for

half an hour or less.

       50.      No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Jose Luis regarding overtime and wages under the FLSA and NYLL.

       51.      Defendants did not provide Plaintiff Jose Luis an accurate statement of wages, as

required by NYLL 195(3).




                                                 -8-
               Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 9 of 23




      52.        Defendants did not give any notice to Plaintiff Jose Luis, in English and in Spanish

(Plaintiff Jose Luis’s primary language), of his rate of pay, employer’s regular pay day, and such

other information as required by NYLL §195(1).

      53.        Defendants required Plaintiff Jose Luis to purchase “tools of the trade” with his own

funds—including uniforms for the restaurant.

                                        Plaintiff Yonic Hernandez

         54.     Plaintiff Yonic was employed by Defendants from approximately May 2015 until on

or about July 22, 2020.

         55.     Defendants employed Plaintiff Yonic as a cook, cashier, and cleaner.

         56.     Plaintiff Yonic regularly handled goods in interstate commerce, such as food and

other supplies produced outside the State of New York.

         57.     Plaintiff Yonic’s work duties required neither discretion nor independent judgment.

         58.     Throughout his employment with Defendants, Plaintiff Yonic regularly worked in

excess of 40 hours per week.

         59.     From approximately May 2015 until on or about June 2015, Plaintiff Yonic worked

from approximately 9:00 a.m. until on or about 6:00 p.m., 6 days a week (typically 54 hours per

week).

         60.     From approximately July 2015 until on or about August 2017, Plaintiff Yonic worked

from approximately 6:00 p.m. until on or about 3:00 a.m., 3 days a week and from approximately

6:00 p.m. until on or about 3:30 a.m., 3 days a week (typically 55.5 hours per week).

         61.     From approximately September 2017 until on or about December 2017, Plaintiff

Yonic worked from approximately 9:00 a.m. until on or about 6:00 p.m., 3 days a week and from

approximately 9:00 a.m. until on or about 6:30 p.m., 3 days a week (typically 55.5 hours per week).



                                                   -9-
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 10 of 23




       62.      From approximately January 2018 until on or about September 2018, Plaintiff Yonic

worked from approximately 6:00 p.m. until on or about 3:00 a.m., 3 days a week and from

approximately 9:00 p.m. until on or about 3:30 a.m., 3 days a week (typically 46.5 hours per week).

       63.      From approximately January 2019 until on or about July 22, 2020, Plaintiff Yonic

worked from approximately 9:00 a.m. until on or about 6:00 to 7:00 p.m., Tuesdays, from

approximately 6:00 p.m. until on or about 3:00 a.m., Wednesdays and Thursdays, from

approximately 1:00 p.m. until on or about 10:00 p.m., Fridays and Saturdays, and from

approximately 9:00 a.m. until on or about 6:30 p.m., on Sundays (typically 46.5 hours per week).

       64.      Throughout his employment, Defendants paid Plaintiff Yonic his wages in cash.

       65.      From approximately May 2015 until on or about October 2015, Defendants paid

Plaintiff Yonic a fixed salary of $350 per week.

       66.      From approximately November 2015 until on or about December 2016, Defendants

paid Plaintiff Yonic a fixed salary of $420 per week.

       67.      From approximately January 2017 until on or about December 2017, Defendants paid

Plaintiff Yonic a fixed salary of $540 per week.

       68.      From approximately January 2018 until on or about September 2018, Defendants

paid Plaintiff Yonic a fixed salary of $580 per week.

       69.      From approximately January 2019 until on or about December 2019, Defendants paid

Plaintiff Yonic $12.00 per hour.

       70.      From approximately January 2020 until on or about July 22, 2020, Defendants paid

Plaintiff Yonic $13.00 per hour.

       71.      Plaintiff Yonic’s pay did not vary even when he was required to stay later or work a

longer day than his usual schedule.



                                                   - 10 -
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 11 of 23




       72.      For example, Defendants required Plaintiff Yonic to work an additional 30 minutes

to 1 hour after his scheduled departure time almost every day, and did not pay him for the additional

time he worked.

       73.      Defendants never granted Plaintiff Yonic any breaks or meal periods of any kind.

       74.      No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Yonic regarding overtime and wages under the FLSA and NYLL.

       75.      Defendants did not provide Plaintiff Yonic an accurate statement of wages, as

required by NYLL 195(3).

      76.       Defendants did not give any notice to Plaintiff Yonic, in English and in Spanish

(Plaintiff Yonic’s primary language), of his rate of pay, employer’s regular pay day, and such other

information as required by NYLL §195(1).

                                 Defendants’ General Employment Practices

      77.       At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiffs (and all similarly situated employees) to work in excess of 40 hours a week

without paying them appropriate minimum wage, spread of hours pay, and overtime compensation

as required by federal and state laws.

      78.       Plaintiffs were victims of Defendants’ common policy and practices which violate

their rights under the FLSA and New York Labor Law by, inter alia, not paying them the wages

they were owed for the hours they worked.

      79.       Defendants’ pay practices resulted in Plaintiffs not receiving payment for all their

hours worked, and resulted in Plaintiffs’ effective rate of pay falling below the required minimum

wage rate.




                                                 - 11 -
            Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 12 of 23




      80.      Defendants habitually required Plaintiffs to work additional hours beyond their

regular shifts but did not provide them with any additional compensation.

      81.      Defendants paid Plaintiffs their wages in cash.

      82.      Defendants failed to post at the workplace, or otherwise provide to employees, the

required postings or notices to employees regarding the applicable wage and hour requirements of

the FLSA and NYLL.

      83.      Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiffs (and similarly situated individuals) worked, and to

avoid paying Plaintiffs properly for their full hours worked.

      84.      Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA and

NYLL.

      85.      Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

significant damages to Plaintiffs and other similarly situated former workers.

      86.      Defendants failed to provide Plaintiffs and other employees with accurate wage

statements at the time of their payment of wages, containing: the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of employer;

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the minimum

wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of pay; the number

of regular hours worked; and the number of overtime hours worked, as required by NYLL §195(3).

      87.      Defendants failed to provide Plaintiffs and other employees, at the time of hiring and

on or before February 1 of each subsequent year, a statement in English and the employees’ primary



                                                  - 12 -
            Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 13 of 23




language, containing: the rate or rates of pay and basis thereof, whether paid by the hour, shift, day,

week, salary, piece, commission, or other; allowances, if any, claimed as part of the minimum wage,

including tip, meal, or lodging allowances; the regular pay day designated by the employer; the name

of the employer; any “doing business as” names used by the employer; the physical address of the

employer's main office or principal place of business, and a mailing address if different; and the

telephone number of the employer, as required by New York Labor Law §195(1).

                             FLSA COLLECTIVE ACTION CLAIMS

      88.      Plaintiffs bring their FLSA minimum wage, overtime compensation, and liquidated

damages claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf

of all similarly situated persons (the “FLSA Class members”), i.e., persons who are or were

employed by Defendants or any of them, on or after the date that is three years before the filing of

the complaint in this case (the “FLSA Class Period”).

      89.      At all relevant times, Plaintiffs and other members of the FLSA Class were similarly

situated in that they had substantially similar job requirements and pay provisions, and have been

subject to Defendants’ common practices, policies, programs, procedures, protocols and plans

including willfully failing and refusing to pay them the required minimum wage and overtime pay

at a one and one-half their regular rates for work in excess of forty (40) hours per workweek under

the FLSA under the FLSA.

      90.      The claims of Plaintiffs stated herein are similar to those of the other employees.

                                    FIRST CAUSE OF ACTION

            VIOLATION OF THE MINIMUM WAGE PROVISIONS OF THE FLSA

      91.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.




                                                  - 13 -
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 14 of 23




      92.       At all times relevant to this action, Defendants were Plaintiffs’ employers within the

meaning of the Fair Labor Standards Act, 29 U.S.C. § 203(d). Defendants had the power to hire and

fire Plaintiffs (and the FLSA Class Members), controlled the terms and conditions of their

employment, and determined the rate and method of any compensation in exchange for their

employment.

      93.       At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.

      94.       Defendants constitute an enterprise within the meaning of the Fair Labor Standards

Act, 29 U.S.C. § 203 (r-s).

       95.      Defendants failed to pay Plaintiffs (and the FLSA Class members) at the applicable

minimum hourly rate, in violation of 29 U.S.C. § 206(a).

      96.       Defendants’ failure to pay Plaintiffs (and the FLSA Class members) at the applicable

minimum hourly rate was willful within the meaning of 29 U.S.C. § 255(a).

      97.       Plaintiffs (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                   SECOND CAUSE OF ACTION

               VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA

      98.       Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      99.       Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiffs (and the

FLSA Class members) overtime compensation at a rate of one and one-half times the regular rate of

pay for each hour worked in excess of forty hours in a work week.

      100.      Defendants’ failure to pay Plaintiffs (and the FLSA Class members), overtime

compensation was willful within the meaning of 29 U.S.C. § 255(a).



                                                  - 14 -
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 15 of 23




      101.      Plaintiffs (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                    THIRD CAUSE OF ACTION

                  VIOLATION OF THE NEW YORK MINIMUM WAGE ACT

      102.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      103.      At all times relevant to this action, Defendants were Plaintiffs’ employers within the

meaning of the N.Y. Lab. Law §§ 2 and 651. Defendants had the power to hire and fire Plaintiffs,

controlled the terms and conditions of their employment, and determined the rates and methods of

any compensation in exchange for their employment.

      104.      Defendants, in violation of NYLL § 652(1) and the supporting regulations of the New

York State Department of Labor, paid Plaintiffs less than the minimum wage.

      105.      Defendants’ failure to pay Plaintiffs the minimum wage was willful within the

meaning of N.Y. Lab. Law § 663.

      106.      Plaintiffs were damaged in an amount to be determined at trial.

                                   FOURTH CAUSE OF ACTION

                        VIOLATION OF THE OVERTIME PROVISIONS

                           OF THE NEW YORK STATE LABOR LAW

      107.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      108.      Defendants, in violation of N.Y. Lab. Law § 190 et seq., and supporting regulations

of the New York State Department of Labor, failed to pay Plaintiffs overtime compensation at rates

of one and one-half times the regular rate of pay for each hour worked in excess of forty hours in a

work week.




                                                  - 15 -
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 16 of 23




      109.      Defendants’ failure to pay Plaintiffs overtime compensation was willful within the

meaning of N.Y. Lab. Law § 663.

      110.      Plaintiffs were damaged in an amount to be determined at trial.

                                    FIFTH CAUSE OF ACTION

                  VIOLATION OF THE SPREAD OF HOURS WAGE ORDER

                      OF THE NEW YORK COMMISSIONER OF LABOR

      111.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      112.      Defendants failed to pay Plaintiffs one additional hour’s pay at the basic minimum

wage rate before allowances for each day Plaintiffs’ spread of hours exceeded ten hours in violation

of NYLL §§ 650 et seq. and 12 N.Y.C.R.R. §§ 146-1.6.

      113.      Defendants’ failure to pay Plaintiffs an additional hour’s pay for each day Plaintiffs’

spread of hours exceeded ten hours was willful within the meaning of NYLL § 663.

      114.      Plaintiffs were damaged in an amount to be determined at trial.

                                    SIXTH CAUSE OF ACTION

                   VIOLATION OF THE NOTICE AND RECORDKEEPING

                     REQUIREMENTS OF THE NEW YORK LABOR LAW

      115.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      116.      Defendants failed to provide Plaintiffs with a written notice, in English and in Spanish

(Plaintiffs’ primary language), containing: the rate or rates of pay and basis thereof, whether paid by

the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of

the minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by

the employer; the name of the employer; any “doing business as" names used by the employer; the




                                                  - 16 -
             Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 17 of 23




physical address of the employer's main office or principal place of business, and a mailing address

if different; and the telephone number of the employer, as required by NYLL §195(1).

      117.      Defendants are liable to each Plaintiff in the amount of $5,000, together with costs

and attorneys’ fees.

                                  SEVENTH CAUSE OF ACTION

                  VIOLATION OF THE WAGE STATEMENT PROVISIONS

                                OF THE NEW YORK LABOR LAW

      118.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      119.      With each payment of wages, Defendants failed to provide Plaintiffs with an accurate

statement listing each of the following: the dates of work covered by that payment of wages; name

of employee; name of employer; address and phone number of employer; rate or rates of pay and

basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other; gross

wages; deductions; allowances, if any, claimed as part of the minimum wage; net wages; the regular

hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours worked;

and the number of overtime hours worked, as required by NYLL 195(3).

      120.      Defendants are liable to each Plaintiff in the amount of $5,000, together with costs

and attorneys’ fees.

                                   EIGHTH CAUSE OF ACTION

                              RECOVERY OF EQUIPMENT COSTS

      121.      Plaintiffs repeat and reallege all paragraphs above as though fully set forth herein.

      122.      Defendants required Plaintiffs to pay, without reimbursement, the costs and expenses

for purchasing and maintaining equipment and “tools of the trade” required to perform their jobs,




                                                  - 17 -
               Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 18 of 23




further reducing their wages in violation of the FLSA and NYLL. 29 U.S.C. § 206(a); 29 C.F.R. §

531.35; N.Y. Lab. Law §§ 193 and 198-b.

        123.      Plaintiffs were damaged in an amount to be determined at trial.

                                         NINTH CAUSE OF ACTION

                   UNLAWFUL DEDUCTIONS FROM WAGES IN VIOLATION

                                  OF THE NEW YORK LABOR LAW

           124.   Plaintiffs repeat and reallege all paragraphs above as though set forth fully herein.

           125.   At all relevant times, Defendants were Plaintiffs’ employers within the meaning of

the N.Y. Lab. Law §§ 2 and 651.

           126.   Defendants made unlawful deductions from Plaintiffs’ wages; specifically,

Defendants deducted a full hour whenever Plaintiff Jose Luis was late, even if only for half an hour

or less.

           127.   The deductions made from Plaintiffs’ wages were not authorized or required by law.

           128.   Through their knowing and intentional efforts to take unauthorized deductions from

Plaintiffs’ wages, Defendants willfully violated NYLL, Article 6, §§ 190 et seq., and supporting

New York State regulations.

           129.   Plaintiffs were damaged in an amount to be determined at trial.

                                      TENTH CAUSE OF ACTION

                     VIOLATION OF THE TIMELY PAYMENT PROVISIONS

                                  OF THE NEW YORK LABOR LAW

        130.      Plaintiffs repeat and reallege all paragraphs above as though set forth fully herein.

        131.      Defendants did not pay Plaintiffs on a regular weekly basis, in violation of NYLL

§191.



                                                    - 18 -
           Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 19 of 23




    132.       Defendants are liable to each Plaintiff in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court enter judgment against

Defendants by:

        (a)     Designating this action as a collective action and authorizing prompt issuance of

notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the pendency

of this action, and permitting them to promptly file consents to be Plaintiffs in the FLSA claims in

this action;

        (b)     Declaring that Defendants violated the minimum wage provisions of, and

associated rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class members;

        (c)     Declaring that Defendants violated the overtime wage provisions of, and associated

rules and regulations under, the FLSA as to Plaintiffs and the FLSA Class members;

        (d)     Declaring that Defendants’ violations of the provisions of the FLSA were willful

as to Plaintiffs and the FLSA Class members;

        (e)     Awarding Plaintiffs and the FLSA Class members damages for the amount of

unpaid minimum wage, overtime compensation, and damages for any improper deductions or

credits taken against wages under the FLSA as applicable;

        (f)     Awarding Plaintiffs and the FLSA Class members liquidated damages in an amount

equal to 100% of their damages for the amount of unpaid minimum wage and overtime

compensation, and damages for any improper deductions or credits taken against wages under the

FLSA as applicable pursuant to 29 U.S.C. § 216(b);

        (g)     Declaring that Defendants violated the minimum wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiffs;



                                                 - 19 -
          Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 20 of 23




         (h)   Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiffs;

         (i)   Declaring that Defendants violated the spread-of-hours requirements of the NYLL

and supporting regulations as to Plaintiffs;

         (j)   Declaring that Defendants violated the notice requirements of the NYLL with

respect to Plaintiffs’ compensation, hours, wages and any deductions or credits taken against

wages;

         (k)   Declaring that Defendants’ violations of the provisions of the NYLL and spread of

hours wage order were willful as to Plaintiffs;

         (l)   Awarding Plaintiffs damages for the amount of unpaid minimum wage and

overtime compensation, and for any improper deductions or credits taken against wages, as well

as awarding spread of hours pay under the NYLL as applicable

         (m)   Awarding Plaintiffs damages for Defendants’ violation of the NYLL notice

provisions, pursuant to NYLL §§198(1-b), 198(1-d);

         (n)   Awarding Plaintiffs liquidated damages in an amount equal to one hundred percent

(100%) of the total amount of minimum wage, overtime compensation, and spread of hours pay

shown to be owed pursuant to NYLL § 663 as applicable; and liquidated damages pursuant to

NYLL § 198(3);

         (o)   Awarding Plaintiffs and the FLSA Class members pre-judgment and post-judgment

interest as applicable;

         (p)    Awarding Plaintiffs and the FLSA Class members the expenses incurred in this

action, including costs and attorneys’ fees;




                                                  - 20 -
         Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 21 of 23




       (q)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal

is then pending, whichever is later, the total amount of judgment shall automatically increase by

fifteen percent, as required by NYLL § 198(4); and

       (r)     All such other and further relief as the Court deems just and proper.

                                         JURY DEMAND

        Plaintiffs demand a trial by jury on all issues triable by a jury.

Dated: New York, New York

       October 23, 2020

                                                         MICHAEL FAILLACE & ASSOCIATES, P.C.

                                               By:              /s/ Michael Faillace
                                                         Michael Faillace [MF-8436]
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                                                         New York, New York 10165
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                                                         Facsimile: (212) 317-1620
                                                         Attorneys for Plaintiffs




                                                - 21 -
           Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 22 of 23

                   Michael Faillace & Associates, P.C.
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 New York, New York 10165                                                                 Facsimile: (212) 317-1620


 Faillace@employmentcompliance.com



                                                                       August 12, 2020
 BY HAND




 TO:      Clerk of Court,


 I hereby consent to join this lawsuit as a party plaintiff.
 (Yo, por medio de este documento, doy mi consentimiento para formar parte de la
 demanda como uno de los demandantes.)


Name / Nombre:                                 Jose Luis Hernandez Leonardo

Legal Representative / Abogado:                Michael Faillace & Associates, P.C.

Signature / Firma:

Date / Fecha:                                   12 de agosto de 2020




                           Certified as a minority-owned business in the State of New York
           Case 1:20-cv-08879-VSB Document 1 Filed 10/23/20 Page 23 of 23

                   Michael Faillace & Associates, P.C.
                                        Employment and Litigation Attorneys

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 New York, New York 10165                                                                 Facsimile: (212) 317-1620


 Faillace@employmentcompliance.com



                                                                       August 13, 2020
 BY HAND




 TO:      Clerk of Court,


 I hereby consent to join this lawsuit as a party plaintiff.
 (Yo, por medio de este documento, doy mi consentimiento para formar parte de la
 demanda como uno de los demandantes.)


Name / Nombre:                                 Yonic Hernandez

Legal Representative / Abogado:                Michael Faillace & Associates, P.C.

Signature / Firma:

Date / Fecha:                                   13 de Agosto 2020




                           Certified as a minority-owned business in the State of New York
